Case 2:18-cv-08518-RGK-AFM Document 187 Filed 12/07/20 Page 1 of 5 Page ID #:4672



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 12                            UNITED STATES DISTRICT COURT
 13                           CENTRAL DISTRICT OF CALIFORNIA
 14
       COVVES, LLC,                               Case No. 2:18-cv-08518-RGK-AFM
 15
                Plaintiff,                        DEFENDANTS DILLARD’S
 16                                               INC., KOHL’S CORPORATION,
           v.                                     SAKS & COMPANY LLC,
 17                                               EXPRESS, INC., TILLY’S, INC.,
       DILLARD’S, INC. a Delaware                 NORDSTROM, INC., WEST
 18    Corporation;                               MARINE, INC., AND ZULILY,
       KOHL’S CORPORATION, a                      INC.’S OPPOSITION TO
 19    Wisconsin Corporation;                     PLAINTIFF’S MOTION TO RE-
       SAKS & COMPANY LLC, a                      OPEN CASE AFTER BREACH
 20    Delaware Corporation;                      OF SETTLEMENT
       TARGET BRANDS, INC., a Minnesota           AGREEMENT
 21    Corporation;
       EXPRESS, INC., a Delaware                  Hon. R. Gary Klausner
 22    Corporation;                               United States District Court Judge
       TILLY’S, INC., a Delaware                  Hearing Date: December 21, 2020
       Corporation;
 23    NORDSTROM, INC., a Washington              Time: 9:00 a.m.
       Corporation;                               Courtroom: 850, 255 E. Temple St.,
 24    WEST MARINE, INC., a Delaware              Los Angeles, CA 90012
       Corporation,
 25    and
       ZULILY, INC., a Delaware
 26    Corporation,
 27             Defendants.
 28

      DEFS' OPP TO PLTF’S MOTION TO RE-OPEN              CASE NO.: 2:18-CV-08518-RGK-AFM
Case 2:18-cv-08518-RGK-AFM Document 187 Filed 12/07/20 Page 2 of 5 Page ID #:4673



  1                 MEMORANDUM OF POINTS AND AUTHORITIES
  2         Defendants Dillards’s Inc., Kohl’s Corporation, Saks & Company LLC, Express,
  3 Inc., Tilly’s, Inc., Nordstrom, Inc., West Marine, Inc., and Zulily, Inc. (collectively, the
  4 “Retail Defendants”) submit this Opposition to Plaintiff Covves, LLC’s (“Covves” or
  5 “Plaintiff”) Motion to Re-open Case After Breach of Settlement Agreement (the
  6 “Motion”).
  7         Defendants oppose the Motion on the same grounds asserted by co-defendant
  8 Target Brands, Inc. (“Target”) in its brief entitled Defendant Target Brands. Inc.’s
  9 Opposition to Plaintiff’s Motion to Re-Open Case After Breach Of Settlement
 10 Agreement (“Target’s Opposition”) filed contemporaneously herewith. Defendants
 11 incorporate the entirely of Target’s Opposition as if fully set forth herein and join
 12 Target’s Opposition. Defendants file this brief to make two additional points for the
 13 Court’s consideration in adjudicating the Motion.
 14         First, none of the eight individual Retail Defendants are signatories to the
 15 Settlement Agreement and Release (the “Settlement Agreement”). As is clear from a
 16 review of the Settlement Agreement, the only signatories are Target, BigMouth Inc. and
 17 BigMouth LLC (collectively, “BigMouth”), and Covves.                As a result, Covves’
 18 arguments that the “Defendants” in the Settlement Agreement “agreed to reopen the
 19 case if Bigmouth breached” is misplaced as to the Retail Defendants as it is undisputed
 20 that they never signed the Settlement Agreement. See Motion, at p. 4. Similarly, when
 21 Covves argues that the case should be re-opened under Rule 60(b) because “BigMouth’s
 22 failure to pay settlement amounts owed has frustrated Covves from obtaining the benefit
 23 of the bargain with Defendants,” (Motion, at p. 5) the “bargain” referenced is between
 24 Target, BigMouth, and Covves and does not involve the Retail Defendants. Thus, the
 25 entirety of Covves’ Rule 60(b) argument again rings hollow as applied to the non-
 26 signatory Retail Defendants.
 27         Second, even should the Court allow Covves’ Motion, Covves and the Retail
 28 Defendants agree that the Retail Defendants should be dismissed from the case. In the
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      DEFS’ OPP TO PLTF’S MOTION TO RE-OPEN                      CASE NO.: 2:18-CV-08518-RGK-AFM
Case 2:18-cv-08518-RGK-AFM Document 187 Filed 12/07/20 Page 3 of 5 Page ID #:4674



  1 last section of its Motion, Covves argues that “If this Court agrees to grant Covves’
  2 requested relief, Covves further asks that this case be reopened only as to Defendant
  3 [Target]. Doing so will simplify the proceedings and streamline trial.” Motion, at p. 5-
  4 6. The Retail Defendants agree that should the case be re-opened that they should be
  5 dismissed from the case. In situations like the present where the plaintiff requests
  6 dismissal and defendants agree to the same, Fed. R. Civ. P. 41(a)(2) provides for
  7 dismissal of the action via order of the Court. See Fed. R. Civ. P. 41(a)(2) (“an action
  8 may be dismissed at the plaintiff's request only by court order, on terms that the court
  9 considers proper.”). Accordingly, should the Court re-open the case, the Retail
 10 Defendants respectfully request that they be dismissed from the re-opened action in
 11 accordance with Fed. R. Civ. P. 41(a)(2).
 12         For the reasons set forth in Target’s Opposition filed contemporaneously
 13 herewith and for those explained above, the Retail Defendants respectfully request that
 14 this Court deny Covves’ Motion to Re-open Case After Breach of Settlement
 15 Agreement. Should the Court allow Covves’ Motion to Re-open Case After Breach of
 16 Settlement Agreement, the Retail Defendants respectfully request that the Court dismiss
 17 each of defendants Dillards’s Inc., Kohl’s Corporation, Saks & Company LLC, Express,
 18 Inc., Tilly’s, Inc., Nordstrom, Inc., West Marine, Inc., and Zulily, Inc. pursuant to its
 19 authority under Fed. R. Civ. P. 41(a)(2) and for whatever relief the Court deems just
 20 and proper.
 21
 22                                  [Signature page follows]
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      DEFS’ OPP TO PLTF’S MOTION TO RE-OPEN                     CASE NO.: 2:18-CV-08518-RGK-AFM
Case 2:18-cv-08518-RGK-AFM Document 187 Filed 12/07/20 Page 4 of 5 Page ID #:4675



  1                                           Respectfully submitted,
  2 DATED: December 7, 2020                   K&L GATES LLP
  3
  4
                                              By /s/ Caitlin C. Blanche
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                                              Attorneys for Defendants
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      DEFS’ OPP TO PLTF’S MOTION TO RE-OPEN                     CASE NO.: 2:18-CV-08518-RGK-AFM
Case 2:18-cv-08518-RGK-AFM Document 187 Filed 12/07/20 Page 5 of 5 Page ID #:4676



  1                              CERTIFICATE OF SERVICE
  2
    Case Name: Covves, LLC v. Dillard’s, Inc. et al.
  3 Case No.: 2:18-cv-08518-RGK-AFM
  4
    IT IS HEREBY CERTIFIED THAT:
  5
  6        I, the undersigned, declare under penalty of perjury that I am a citizen of the
    United States over 18 years of age. My business address is 1 Park Plaza, Twelfth
  7 Floor, Irvine, CA 92614. I am not a party to the above entitled action.
  8
           I have caused service of the following documents, described as:
  9
 10        DEFENDANTS DILLARD’S, INC., KOHL’S CORPORATION, SAKS &
           COMPANY LLC, EXPRESS INC., TILLY’S, INC., NORDSTROM, INC.,
 11        WEST MARINE, INC., AND ZULILY, INC.’S OPPOSITION TO
 12        PLAINTIFF’S MOTION TO RE-OPEN CASE AFTER BREACH OF
           SETTLEMENT AGREEMENT
 13
 14 on the following parties by electronically filing the foregoing on December 1, 2020,
    with the Clerk of the District Court using its ECF System, which electronically
 15 notifies them.
 16
           Stephen C. McArthur                     Attorneys for Plaintiff
 17        Thomas E. Dietrich
 18        THE MCARTHUR LAW FIRM, PC
           11400 W. OLYMPIC BLVD. SUITE 200
 19        LOS ANGELES, CA 90064
 20
 21        I declare under penalty of perjury under the laws of the State of California that
    the foregoing is true and correct.
 22
 23
      Date:    December 7, 2020      By:      /s/ Caitlin C. Blanche
 24                                           Caitlin C. Blanche
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      DEFS’ OPP TO PLTF’S MOTION TO RE-OPEN                       CASE NO.: 2:18-CV-08518-RGK-AFM
